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10
      EPIC GAMES, INC. and EPIC GAMES
11    INTERNATIONAL S.À.R.L.

12                               UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14

15   EPIC GAMES, INC., a Maryland              Case No. 17-cv-05961-HSG
     corporation; and EPIC GAMES
16   INTERNATIONAL S.À.R.L., a                 [PROPOSED] FINAL JUDGMENT AND
     Luxembourg Société à Responsibilité       PERMANENT INJUNCTION
17   Limitée,

18                        Plaintiffs,

19   v.

20   PHILIP JOSEFSSON, an individual; and
     ARTEM YAKOVENKO, an individual,
21
                          Defendants.
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                                                               [PROPOSED] FINAL JUDGMENT AND
                                             -1-                       PERMANENT INJUNCTION
     131695355                                                         Case No. 3: 17-cv-05961-HSG
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 1   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

 2           1.     This is an action for copyright infringement; contributory copyright infringement;

 3   trademark infringement; false designation of origin; breach of contract; and California unfair

 4   competition.

 5           2.     Defendant Philip Josefsson (“Josefsson”), a resident of Gothenburg, Sweden,

 6   submitted to the jurisdiction of this Court by submitting a counter notification consenting to the

 7   jurisdiction of this district under the Digital Millennium Copyright Act, 17 U.S.C. § 512.

 8           3.     This Court has jurisdiction over Plaintiffs Epic Games, Inc. and Epic Games

 9   International, S.À.R.L. (collectively “Epic”) and Josefsson as well as the subject matter at issue in

10   this action.

11           4.     This Final Judgment and Permanent Injunction, the Stipulation for Entry of Final

12   Judgment and Permanent Injunction, and the Settlement Agreement have been translated into

13   Swedish and Josefsson acknowledges that he has reviewed these documents and understands their

14   meaning and effect.

15           5.     Epic alleges that Josefsson created, developed, and/or wrote a software cheat for

16   Fortnite’s Battle Royale game mode; Josefsson then created and posted several videos on

17   YouTube to advertise, demonstrate, and distribute his cheat; Josefsson’s videos feature Epic’s

18   FORTNITE mark and full screen gameplay using the cheat; the derivative works created by

19   Josefsson’s cheat also contain the FORTNITE mark; and Josefsson intentionally induces others to

20   infringe the FORTNITE mark by distributing his cheat.

21           6.     Judgment. Based on the Parties’ stipulation, judgment is entered in favor of the

22   Epic and against Josefsson on the following causes of action: copyright infringement,

23   contributory copyright infringement, trademark infringement, false designation of origin, breach

24   of contract, and California unfair competition.

25           7.     Permanent Injunction. Philip Josefsson along with his agents, representatives,

26   partners, joint venturers, servants, employees, and all those persons or entities acting in concert or

27   participation with him, shall be and hereby are PERMANENTLY ENJOINED and restrained

28   from:
                                                                           [PROPOSED] FINAL JUDGMENT AND
                                                       -2-                         PERMANENT INJUNCTION
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 1                  a)      imitating, copying, or making any other infringing use or infringing

 2                  distribution of Fortnite or any other works now or hereafter protected by any

 3                  copyright owned by Epic;

 4                  b)      creating, writing, developing, advertising, promoting, and/or distributing

 5                  anything that infringes Epic’s works now or hereafter protected by any copyright

 6                  owned by Epic;

 7                  c)      engaging in any other activity that constitutes an infringement of any of

 8                  Epic’s copyrights, or of Epic’s rights in, or right to use or exploit, its copyrights;

 9                  d)      unfairly competing with Epic in any manner whatsoever;

10                  e)      cheating in any game, now existing or that is created in the future,

11                  developed or published by Epic or its corporate affiliates; and

12                  f)      assisting, aiding, or abetting any other person or entity in engaging in or

13                  performing any of the activities referenced in paragraphs 7(a) through 7(e) above.

14           8.     Future Claims Unaffected. Nothing in this Final Judgment and Permanent

15   Injunction precludes Epic or Josefsson from asserting any claims or rights that arise solely after

16   Josefsson’s stipulation to this Final Judgment and Permanent Injunction or that are based upon

17   any breach of, or the inaccuracy of, any representation or warranty made by Josefsson in the

18   Stipulation for Entry of Final Judgment and Permanent Injunction, the Final Judgment and

19   Permanent Injunction or the Settlement Agreement reached by the Parties.

20           9.     Claims Against Third Parties Unaffected. Nothing in this Final Judgment and

21   Permanent Injunction precludes Epic or Josefsson from asserting any claims or rights as against

22   any third party.

23           10.    Non-Appealability. This Final Judgment and Permanent Injunction is final and

24   may not be appealed by either party.

25           11.    Rule 65(d). Josefsson waives any objection under Federal Rule of Civil Procedure

26   65(d) (pertaining to injunctions) to paragraph 7 above.

27           12.    Dismissal. The claims in this action against Josefsson are dismissed with

28   prejudice.
                                                                            [PROPOSED] FINAL JUDGMENT AND
                                                      -3-                           PERMANENT INJUNCTION
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 1           13.   Fees and Costs. Each party shall bear its own attorneys’ fees and costs.

 2           14.   Retention of Jurisdiction. The Court shall retain jurisdiction to enforce this Final

 3   Judgment and Permanent Injunction.

 4
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     DATED this ____ day of ___________, 2017
 6
                                                          Judge Haywood S. Gilliam, Jr.
 7                                                        DISTRICT COURT JUDGE
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                                                                        [PROPOSED] FINAL JUDGMENT AND
                                                   -4-                          PERMANENT INJUNCTION
     131695355                                                                  Case No. 3: 17-cv-05961-HSG
